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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

CRYSTAL SANDERS                              §
                                             §
        Plaintiff,                           §             CIVIL ACTION NO.
                                             §             3:09-CV-0307-P
v.                                           §
                                             §
DALCRAFT, LLC, d/b/a CRAFT,                  §
DALLAS                 .                     §
                                             §
        Defendant.                           §


                                   ORDER OF REFERENCE

        Under authority of 28 U.S.C. § 636(b), it is ORDERED that Plaintiff’s Motion to Quash and

for Protective Order and Request for Expedited Hearing, filed May 4, 2009, be referred to the

Honorable Jeff Kaplan, United States Magistrate Judge, for hearing, if necessary, and

determination.

        It is so ordered.

        Signed this 5th day of May, 2009.



                                             _________________________________
                                             JORGE A. SOLIS
                                             UNITED STATES DISTRICT JUDGE
